

People v Ruiz (2022 NY Slip Op 02957)





People v Ruiz


2022 NY Slip Op 02957


Decided on May 03, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 03, 2022

Before: Renwick, J.P., Kapnick, Friedman, Rodriguez, Pitt, JJ. 


Ind. No. 2926/08 Appeal No. 15851 Case No. 2020-02950 

[*1]The People of the State of New York, Respondent,
vAlexandro Ruiz, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Molly Schindler of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Emily N. Gault of counsel), for respondent.



Order, Supreme Court, New York County (Robert M. Mandelbaum, J.), entered on or about April 20, 2020, which adjudicated defendant a level three sexually violent offender, pursuant to the Sex Offender Registration Act (Correction Law art 6C), unanimously affirmed, without costs.
The court providently exercised its discretion when it declined to grant a downward departure (see People v Gillotti, 23 NY3d 841 [2014]), and we find no basis to substitute our own discretion in this regard. The mitigating factors cited by defendant were adequately taken into account by the risk assessment instrument or were
outweighed by the seriousness of the underlying crime and defendant's extensive criminal history. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 3, 2022








